     Case 1:15-cr-00169-DAD-BAM Document 132 Filed 01/11/18 Page 1 of 2


 1   McGREGOR W. SCOTT
     United States Attorney
 2   KIMBERLY A. SANCHEZ
     Assistant United States Attorney
 3   2500 Tulare Street, Suite 4401
     Fresno, CA 93721
 4   Telephone: (559) 497-4000
     Facsimile: (559) 497-4099
 5

 6   Attorneys for Plaintiff
     United States of America
 7

 8

 9
                                 UNITED STATES DISTRICT COURT
10                          FOR THE EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                          No. 1:15-CR-00169-DAD-BAM
12
                                     Plaintiff,
13
                             v.                      STIPULATION AND ORDER TO CONTINUE
14
                                                     STATUS CONFERENCE RE SENTENCING
     ABRAHAM CHAVEZ,
15
                                     Defendant.
16

17

18

19          IT IS HEREBY STIPULATED by and between Phillip A. Talbert, United States Attorney
20   and Kimberly A. Sanchez, Assistant U.S. Attorney and Abraham Chavez, attorney for the
21   defendant, that the status of sentencing set for January 16, 2018 at 10:00 am before the Honorable
22   Dale A. Drozd, U.S. District Court Judge, be continued to June 18, 2018 at 10:00 a.m. The
23   reason for the request is set forth in defendant’s status report, C.R. 129, regarding his continued
24   participation in the Delancey Street Program. The government has not received any information
25   to dispute what defense sets forth in the status report. As such, the parties believe that setting
26
                                  [Remainder of page intentionally left blank.]
27

28
                                                       1
     Case 1:15-cr-00169-DAD-BAM Document 132 Filed 01/11/18 Page 2 of 2


 1   another status on June 18, 2018 is appropriate to continue to monitor the defendant’s progress.

 2

 3   Dated: January 10, 2018                                Respectfully submitted,
 4                                                          McGREGOR W. SCOTT
                                                            United States Attorney
 5
                                                  By        /s/ Kimberly A. Sanchez
 6                                                          KIMBERLY A. SANCHEZ
                                                            Assistant U.S. Attorney
 7
     Dated: January 10, 2018                                /s/ Kevin Little
 8                                                          KEVIN LITTLE
                                                            Attorney for Defendant
 9

10

11

12                                               ORDER

13          The court has reviewed and considered the stipulation of the parties to continue the status

14   conference regarding sentencing in this case. Good cause appearing, the status conference as to

15   the above named defendant currently scheduled for January 16, 2018, is continued until June 18,

16   2018, at 10:00 a.m. in courtroom 5 before District Judge Dale A. Drozd.

17   IT IS SO ORDERED.
18
        Dated:     January 10, 2018
19                                                         UNITED STATES DISTRICT JUDGE

20
21

22

23

24

25

26
27

28
                                                       2
